985 F.2d 573w
    NOTICE: Ninth Circuit Rule 36-3 provides that dispositions other than opinions or orders designated for publication are not precedential and should not be cited except when relevant under the doctrines of law of the case, res judicata, or collateral estoppel.Henry B. JONES, Plaintiff-Appellant,v.H. Lawrence GARRETT, III, Secretary of the Navy, UnitedStates Department of the Navy, Defendant-Appellee.
    No. 91-16746.
    United States Court of Appeals, Ninth Circuit.
    Submitted Oct. 8, 1992.Decided Feb. 4, 1993.Withdrawn May 19, 1993.
    
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      NOTE: THE COURT HAS WITHDRAWN THIS OPININ.
    
    